      Case 4:11-cr-00340 Document 123 Filed on 06/15/11 in TXSD Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-340
                                                  §
                                                  §
                                                  §
TAI NGUYEN, et al                                 §

                                                ORDER

       The government filed an unopposed motion to have this case deemed a complex case and

a motion for continuance, (Docket Entry No.103). The court grants the motion. The court finds that

the interests of justice are served by granting this continuance and that those interests outweigh the

interests of the public and the defendants in a speedy trial. The motion for continuance is

GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     November 7, 2011
       Responses are to be filed by:                   November 21, 2011
       Pretrial conference is reset to:                November 29, 2011 at 9:00 a.m.
       Jury trial and selection are reset to:          December 5, 2011 at 9:00 a.m.


               SIGNED on June 15, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
